                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

Brooke Henderson and Jennifer Lumley,                )
                                                     )
                Plaintiffs,                          )
                                                     )
     v.                                              )       Case No.: 6:21-CV-03219
                                                     )
School District of Springfield, R-12;                )
Board of Education for the School District           )
of Springfield, R-12; Dr. Grenita Lathan;            )
Yvania Garcia-Pusateri; and Lawrence                 )
Anderson,                                            )
                                                     )
                Defendants.                          )

                  DEFENDANTS’ MOTION FOR ATTORNEY’S FEES

          Defendants School District of Springfield, R-12; Board of Education for the School

District of Springfield, R-12; Dr. Grenita Lathan; Dr. Yvania Garcia-Pusateri; and Lawrence

Anderson, by and through counsel, pursuant to Federal Rule of Civil Procedure 54(d) and 42

U.S.C. § 1988(b), respectfully request that this Court award to Defendants their attorney’s fees

incurred in defending against Plaintiffs’ claims in this action. Defendants are the prevailing

parties in this action; Plaintiffs’ action was frivolous, unreasonable, and without foundation;

Defendants’ requested hourly attorney rates are reasonable; and Defendants only seek recovery

for attorney’s hours reasonably, necessarily, and actually performed by Defendants’ counsel. For

these reasons, and as further set forth in Defendants Suggestions in Support, incorporated herein

by reference, Defendants request an attorney’s fee award in the amount of $312,869.50.

          WHEREFORE, Defendants respectfully request that this Court grant Defendants’ Motion

for Attorney’s Fees and award to Defendants’ their prevailing party attorney’s fees in the amount

of $312,869.50, and for such other relief as this Court deems just.




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                     Respectfully submitted,

                     ELLIS, ELLIS, HAMMONS & JOHNSON, P.C.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of February 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, and a copy was made available to all
electronic filing participants.

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                                              /s/ Tina G. Fowler
                                              Attorney of Record




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